Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.1 Filed 11/13/07 Page 1 of 15

EASTERN DISTRICT OF MICHIG

UNITED STATES DISTRICT IGAE
ipods
SOUTHERN DIVISION int oy la ey

UNITED STATES OF AMERICA, “ASP;

Plaintiff, CRIMINAL NO. 07-20156

V. HON. AVERN COHN
D-1 NADA NADIM PROUTY, VIO. 18 U.S.C. § 371
a/k/a Nada Nadim Alley, 18 U.S.C. § 1030
a/k/a Nada Nadim Deladurantaye, 18 U.S.C. § 1425
a/k/a Nada Nadim Al Aouar,
Defendant.
/

SECOND SUPERSEDING INFORMATION

THE UNITED STATES ATTORNEY CHARGES:

General Allegations

1. On June 24, 1989, NADA NADIM PROUTY, also known as “Nada Nadim
Alley,” also known as “Nada Nadim Deladurantaye,” also known as “Nada Nadim Al

Aouar,” defendant herein, first entered the United States from Lebanon on a one year

non-immigrant student visa.

2. After defendant’s visa expired on June 11, 1990, she remained in the
country residing in Taylor, Michigan with her sister, Elfat El] Aouar, not named as

a defendant herein, and Samar Khalil Nabbouh, also known as “Samar Khalil

Spinelli,” not named as a defendant herein.

[D
Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.2 Filed 11/13/07 Page 2 of 15

3. On an unknown date between June 11, 1990, and August 9, 1990, while
having overstayed her visa, defendant offered money to an unemployed United States
citizen to marry her, expressly for the purpose of remaining in the United States and
evading U.S. immigration laws.

4. On August 9, 1990, defendant married the U.S. citizen in a civil ceremony
in Detroit, Michigan. As planned, defendant never lived as husband and wife with
her fraudulent “husband” and the marriage was never consummated sexually. Rather,
defendant continued to live with Elfat El Aouar and Samar Khalil Nabbouh.

5. Between August 29, 1990 and May 31, 1994, NADA NADIM PROUTY,
then known as “Nada Nadim Deladurantaye,” defendant herein, submitted a series
of written statements under oath to immigration authorities purporting to verify the
validity of the fraudulent marriage.

6. On November 16, 1992, at defendant’s request, Talal Khalil Chahine, not
named as a defendant herein, wrote a letter for submission into defendant’s
immigration file attesting to the validity of the marriage and falsely stating that he
knew defendant and her husband “in a professional and a personal manner.”

7, On November 16, 1992, defendant’s boyfriend, at defendant’s request, also
wrote a letter for submission into defendant’s immigration file falsely claiming that
defendant and her “husband” resided together and that the boyfriend was “good
friends” with the husband.

8. On November 23, 1992, defendant forged the signature of her fraudulent

husband on Form I-751, Petition to Remove the Conditions on Residence under
Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.3 Filed 11/13/07 Page 3 of 15

penalty of perjury and just below a certification that the marriage “was not for the
purpose of procuring an immigration benefit.”

9. On August 5, 1994 NADA NADIM PROUTY, defendant herein, procured
her United States citizenship under the name “Nada Nadim Deladurantaye.”

10. On January 17, 1995, NADA NADIM PROUTY, defendant herein, caused
to be filed in the Wayne County, Michigan, Circuit Court a Complaint for Divorce
wherein she falsely alleged that she and her fraudulent husband “lived and cohabited
together as husband and wife until on or about December 15, 1994.”

11. At all times relevant to this information, La Shish, Inc. was a chain of
Middle Eastern restaurants located in the Detroit, Michigan metropolitan area owned
by Talal Khalil Chahine, not named as a defendant herein. From May 1992 through
April 1993, and again from August through November 1994, NADA NADIM
PROUTY, then known as “Nada Nadim Deladurantaye,” was employed at La Shish,
Inc. as a waitress and hostess.

12. On or about April 21, 1999, through a series of false representations and
use of her fraudulently procured proof of U.S. citizenship, NADA NADIM PROUTY,
then known as “Nada Nadim Alley,” defendant herein, obtained employment with the
United States Department of Justice as a Special Agent for the Federal Bureau of
Investigation (FBI). During all times material to this Information, it was a
prerequisite to FBI employment that one be a United States citizen.

13. As a Special Agent, defendant was granted a security clearance and

assigned to the FBI’s Washington Field Office (WFO) to work on an extraterritorial
Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.4 Filed 11/13/07 Page 4 of 15

squad investigating crimes against U.S. persons overseas. During her tenure with the
FBI, Defendant was not assigned to work on investigations involving the
international terrorist group Hizballah.

14. On August 22, 2000, defendant’s sister, Elfat El Aouar, not named as a
defendant herein, entered into a marriage with Talal Khalil Chahine, not named as a
defendant herein, under the tenets of Shia Islam.

15. On or about September 19, 2000, while employed as an FBI Special Agent
at WFO, NADA NADIM PROUTY, then known as “Nada Nadim Alley,” defendant
herein, utilized the FBI’s computerized Automated Case System (ACS) without
authorization, and beyond her authorized access, to query her own name, her sister
Elfat El Aouar’s name, and the name of her brother-in-law, Talal Khalil Chahine.
During all times material to this Information, the use of the FBI’s ACS system was
limited to official business.

16. At all times material to this Information, it was contrary to FBI policy and
procedures for an FBI agent to take classified information home. During her tenure
with the FBI, defendant violated FBI policy and took an unknown quantity of
classified information home with her.

17. In August 2002, Elfat El Aouar and Talal Khalil Chahine, not named as
defendants herein, attended a fund raising event in Lebanon. The keynote speakers
for the event were Chahine and Sheikh Muhammad Hussein Fadlallah, not named as
a defendant herein. Sheikh Fadlallah had previously been designated by the U.S.

Department of Treasury’s Office of Foreign Asset Control as a Specially Designated
Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.5 Filed 11/13/07 Page 5 of 15

Global Terrorist based upon his status as a leading ideological figure with Hizballah.

18. Effective October 8, 1997, the U.S. Secretary of State made findings that
Hizballah, also known as “Party of God,” is a foreign organization that engages in
terrorist activity which “threatens the security of United States nationals or the
national security of the United States.”

19, On or about June 29, 2003, through a series of false representations and
use of her fraudulently procured proofofU.S. citizenship, NADA NADIM PROUTY,
then as now known as “Nada Nadim Prouty,” defendant herein, voluntarily left her
position with the FBI and obtained employment with the Central Intelligence Agency
(CIA). During all times material to this Information, it was a prerequisite to CIA
employment that one be a United States citizen.

20. On or about, June 16, 1995, Defendant obtained a U.S. Passport based ~
upon her fraudulently obtained U.S. Citizenship, and thereafter renewed it when
required.

21. At various times between September 9, 1998 and July 12, 2007, defendant

traveled to, from and outside the United States on a U.S. Passport.
Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.6 Filed 11/13/07 Page 6 of 15

COUNT ONE
(Conspiracy — 18 U.S.C. § 371)

D-! NADA NADIM PROUTY

The general allegations set forth above are hereby incorporated by reference
as if fully set forth herein.

From on or about April 10, 1990 through the date of this Information, within
the Eastern District of Michigan, Southern Division, and elsewhere, NADA NADIM
PROUTY, defendant herein, conspired and agreed together with others both known
and unknown to the United States Attorney:

1) to defraud the United States of valuable benefits of U.S. citizenship

including U.S. passports and U.S. government employment; and

2) to commit the following offenses against the United States:

a. Marriage Fraud in violation of 8 U.S.C. § 1325(c);
b. Naturalization Fraud in violation of 18 U.S.C. § 1425(a);
c. Perjury in violation 18 U.S.C. § 1546;

d. False Statements Under Oath in Naturalization Proceedings
in violation of 18 U.S.C. § 1015(a);

e. Use of Fraudulently Procured Proof of U.S. Citizenship
in violation of 18 U.S.C. § 1015(c);

f. False Statements to Government Agents
in violation of 18 U.S.C. § 1001; and

g. Use of Fraudulently Procured U.S. Passports
in violation of 18 U.S.C. § 1542.
Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.7 Filed 11/13/07 Page 7 of 15

Ways, Manner and Means

The ways, manner and means of the conspiracy are described as follows.

It was part of the conspiracy that NADA NADIM PROUTY, defendant herein,
and other co-conspirators, entered the United States from Lebanon on a non-
immigrant student or visitor visa.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, overstayed their non-immigrant visas or otherwise failed to depart
the United States as scheduled on their visa.

It was further a part of the conspiracy that the alien members of the conspiracy,
including NADA NADIM PROUTY, with the assistance of one another, located U.S.
citizens willing to marry them in exchange for money.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, entered into marriages with the hired U.S. citizens in name only,
having no intention of living together as husband and wife and solely for purposes of
evading U.S. immigration laws.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, caused their U.S. citizen husbands to sign immigration documents
under oath verifying the validity of the fraudulent marriages and falsely claiming to
be residing with their wives.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, resided together at the same address both before and after their

marriage ceremonies.
Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.8 Filed 11/13/07 Page 8 of 15

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, in coordination with one another, falsified letters claiming to know
their fraudulent husbands and verifying the legitimacy of the fraudulent marriages.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, in coordination with one another, forged letters by real or fictional
individuals purporting to verify the legitimacy of the fraudulent marriages.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, in coordination with one another, forged the signatures of their
fraudulent husbands on official immigration documents.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, served as references for one another to backstop any inquiries into
their fraudulent marriages.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, obtained documentation permitting them to permanently live and
reside in the United States.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, traveled internationally in and out of the United States once they had
obtained permission to permanently live and reside in the United States.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, obtained United States citizenship and naturalization certificates as
proof of their citizenship.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.9 Filed 11/13/07 Page 9 of 15

co-conspirators, in coordination with one another, divorced their fraudulent U.S.
citizen husbands shortly after obtaining their naturalization certificates.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, in coordination with one another, caused documents containing false
statements attesting to the validity of the marriages to be submitted to the Wayne
County (Michigan) Circuit Court to effectuate divorce proceedings. Like the
marriages and immigration file submissions, the divorces were coordinated, timed,
and scripted, utilizing the same mailing address and the same attorney.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, utilized their naturalization certificates to obtain U.S. passports
permitting them to travel internationally as U.S. citizens.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, utilized their U.S. passports to travel to various countries around the
world as U.S. citizens.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other
co-conspirators, utilized their naturalization certificates and U.S. passports, as proof
of their U.S. citizenship, to obtain U.S. government employment only available to
U.S. citizens, including employment as a Special Agent of the Federal Bureau of
Investigation, an employee of the Central Intelligence Agency, and a commissioned
officer in the U.S. military.

It was further a part of the conspiracy that NADA NADIM PROUTY, and other

co-conspirators, utilized their naturalization certificates and U.S. passports, as proof
Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.10 Filed 11/13/07 Page 10 of 15

of their U.S. citizenship, to obtain security clearances and access to sensitive U.S.

government secrets, sources and methods not otherwise available to them.

Overt Acts

In furtherance of the conspiracy, and to effect the objects thereof, NADA
NADIM PROUTY, defendant herein, and her co-conspirators committed and caused
to be committed the following overt acts, among others, in the Eastern District of
Michigan and elsewhere:

1. While applying for employment with the Federal Bureau of Investigation,
on or about April 21, 1997, NADA NADIM PROUTY, then known as “Nada Nadim
Alley,” defendant herein, signed Form FD-140 stating that her divorce from her first
marriage was due to “irreconcilable differences.”

2. While applying for employment with the Federal Bureau of Investigation,
on or about April 21, 1997, NADA NADIM PROUTY, then known as “Nada Nadim
Alley,” defendant herein, signed Form FD-140 referencing her naturalization
certificate number as proof of her U.S. citizenship.

3. While applying for employment with the Federal Bureau of Investigation,
on or about April 21, 1997, NADA NADIM PROUTY, then known as “Nada Nadim
Alley,” defendant herein, signed Form FD-140 listing Samar Khalil Spinelli, also
known as “Samar Khalil Nabbouh,” not named as a defendant herein, as a reference.

4, While applying for employment with the Federal Bureau of Investigation,
on or about April 21, 1997, NADA NADIM PROUTY, then known as “Nada Nadim

10
Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.11 Filed 11/13/07 Page 11 of 15

Alley,” defendant herein, signed Form FD-140 stating that she was not “aware of any
information about [her]self or any person with whom [she is or has] been closely
associated (including relatives and roommates) which might tend to reflect
unfavorably on [her] reputation, morals [or] character... .”

5. While applying for employment with the Federal Bureau of Investigation,
on or about April 21, 1997, NADA NADIM PROUTY, then known as “Nada Nadim
Alley,” defendant herein, signed Form FD-140 referencing the naturalization
certificate number of her sister Elfat El Aouar, not named as a defendant herein, as
proof of her sister’s U.S. citizenship.

6. On or about September 11, 1998, NADA NADIM PROUTY, then known
as “Nada Nadim Alley,” defendant herein, told FBI Special Agent John Camera that
she was concealing no matters in her background which could be used for purposes
of pressuring or influencing her,

7. On or about October 15, 1998, Samar Khalil Spinelli, also known as “Samar
Khalil Nabbouh,” not named as a defendant herein, told an FBI Special Agent that
she was not aware of any activity or conduct in the background of NADA NADIM
PROUTY, then known as “Nada Nadim Alley,” defendant herein, which could be
used in any way to subject defendant to influence, pressure, coercion or compromise,
or which would negatively reflect upon defendant’s character.

8. On or about October 15, 1998, Talal Khalil Chahine, not named as a
defendant herein, told a FBI Special Agent that he was not aware of any activity or

conduct in the background of NADA NADIM PROUTY, then known as “Nada

11
Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.12 Filed 11/13/07 Page 12 of 15

Nadim Alley,” defendant herein, which could be used in any way to subject defendant
to influence, coercion or compromise, or which would negatively reflect upon her
character.

9. While applying for employment with the Central Intelligence Agency (CIA),
on or about February 15, 2003, NADA NADIM PROUTY, defendant herein, signed
Form SF-86 referencing her naturalization certificate number as proof of her U.S.
citizenship,

10. While applying for employment with the CIA, on or about February 15,
2003, NADA NADIM PROUTY, defendant herein, signed Form SF-86 referencing
her fraudulent marriage and identifying her fraudulent husband as a former “spouse.”

11. While applying for employment with the CIA, on or about February 15,
2003, NADA NADIM PROUTY, defendant herein, signed Form SF-86 referencing
the naturalization certificate number of her sister, Elfat El Aouar, not named as a
defendant herein, as proof of her sister’s U.S. citizenship.

All in violation of Title 18, United States Code, Section 371.

12
Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.13 Filed 11/13/07 Page 13 of 15

COUNT TWO
(Unauthorized Computer Access — 18 U.S.C. § 1030)

D-1 NADA NADIM PROUTY

The general allegations set forth above are hereby incorporated by reference
as if fully set forth herein.

On or about June 4, 2003, within the Eastern District of Michigan, Southern
Division, and elsewhere, NADA NADIM PROUTY, defendant herein, while
employed as a Special Agent of the Federal Bureau of Investigation (FBI), an agency
of the United States, intentionally accessed the FBI’s Automated Case Support (ACS)
computer system and obtained information from case file number DE-74791, Serial
489, a national security investigation conducted by the FBI’s Detroit Field Office
concerning the designated foreign terrorist organization, Hizballah; defendant did so
without authorization and in excess of her authorized access within the ACS system;

all in violation of Title 18, United States Code, Section 1030(a)(2)(B).

COUNT THREE
(Naturalization Fraud — 18 U.S.C. § 1425)

D-1 NADA NADIM PROUTY

The general allegations set forth above are hereby incorporated by reference
as if fully set forth herein.

On or about August 5, 1994, within the Eastern District of Michigan, Southern
Division, and elsewhere, NADA NADIM PROUTY, defendant herein, knowingly

procured, and attempted to procure, contrary to law, her own naturalization as a

13
Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.14 Filed 11/13/07 Page 14 of 15

United States citizen, all in violation of Title 18, United States Code, Section

1425(a).

STEPHEN J. MURPHY
Unifeg States Attorney:

Loe re SA. Lee ee 7
ERIC M. STRAUS
Chief, National Security Unit

Sele ee

KENNETH R, CHADWELL
Assistant United States Attorney

Mab [liar

MARK J. JEBSON

Special Assistant U.S. Attorney

Senior Assistant Chief Counsel

U.S. Immigration and Customs Enforcement

Dated: November !3, 2007

14
Case 2:07-cr-20156-AC-MKM ECF No. 1, PagelD.15 Filed 11/13/07 Page 15 of 15

United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan 07-20156

NOTE: It is the responsibility of the Assistant U.S, Attorney signing this form to complete it accurately in all respects.

Companion Case Number:

Mpanion Cas ormatio
This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:

O Yes No AUSA’s Initials: kvec

Case Title: USA v. Nada Nadim Prouty

County where offense occurred : Wayne

Check One: Felony Oi Misdemeanor 0 Petty
Indictment/__X__Information --- no prior compiaint.
Indictment/ Information --- based upon prior complaint [Case number: }
indictment/ Information --- based upon LCrR 57.10 (d) {Complete Superseding section below].

Superseding to Case No: 07-20156 Judge: Cohn

Original case was terminated; no additional charges or defendants.

Corrects errors; no additional charges or defendants.

Involves, for plea purposes, different charges or adds counts.

Embraces same subject matter but adds the additional defendants or charges below:

OOOO

Defendant name Charges

Nada Nadim Prouty 18 U.S.C. §§ 371, 1030, 1425

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

November 13, 2007 CEB CL Zane
Date Kenneth R. Chadwell

Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, Ml 48226-3277
Phone: (313) 226-9698
Fax: (313) 226-3413
E-Mail address: ken.chadwell@usdoj.gov
Attorney Bar #: P39121

* Companion cases ara matters in which it appears that (1) substantially similar evidence will be offered at trial, (2) the same or related parties are present, and the cases arise out of the
same transaction or occurrence. Cases may be companion cases even though one of them may have already been terminated.
5/20/04
